            Case 1:23-cv-00581-RDM Document 18 Filed 03/20/24 Page 1 of 4




                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA


 AMERICAN FIRST LEGAL
 FOUNDATION,

                 Plaintiff,
                                                         Civil Action No. 23-581 (RDM)
        v.

 U.S. DEPARTMENT OF HEALTH AND
 HUMAN SERVICES,

                 Defendants.


                                  JOINT STATUS REPORT

       Plaintiff, America First Legal Foundation, and Defendant Department of Health and Human

Services, by and through undersigned counsel, hereby provide the following status report.

       1.       This action under the Freedom of Information Act (“FOIA”) was filed by Plaintiff

on March 2, 2023. ECF No. 1. This action concerns two FOIA requests made by Plaintiff on

August 2, 2021, and September 23, 2021. Id. ¶¶ 6, 11. Plaintiff seeks records relating to the

Administration for Children and Families’ (“ACF”) Office of Refugee Resettlement care for

Unaccompanied Alien Children.

       2.       Plaintiff’s August 2, 2021 FOIA request (No. 21-F-0186) contains seven subparts

(A-G). To date, ACF has completed the search for and produced non-exempt material responsive

to subparts C, D, F, and G. ACF completed its search for records responsive to Subpart A and

located approximately 3,550 potentially responsive pages. ACF will process 300 pages per month

with the first production of any responsive, nonexempt information on April 12, 2024. In addition,

because ACF’s initial search for records responsive to subpart B contained an error, ACF re-ran

its search for records responsive to subpart B also captures records responsive to subpart E. This
            Case 1:23-cv-00581-RDM Document 18 Filed 03/20/24 Page 2 of 4




search yielded approximately 58,101 potentially responsive pages of records. Plaintiff and

Defendant conferred to narrow the number of pages requiring review. After implementing

Plaintiff’s narrowing proposals, Defendant re-ran the search, which produced 19,381 pages.

       3.       Plaintiff’s September 23, 2021 FOIA request (No. 21-F-0208) also contains seven

subparts (A-G). ACF previously made a production of non-exempt material responsive to subparts

A-F. ACF’s initial search for records responsive to subpart G produced 12,370 pages of potentially

responsive material, which ACF was able to narrow to 8,800 pages. ACF is conferring with

Plaintiff regarding how to further narrow this search.

       4.       The Parties propose to file an additional JSR no later than May 20, 2024.

       5.       A proposed order is enclosed.

Dated: March 20, 2024                           Respectfully submitted,

                                                MATTHEW M. GRAVES, D.C. Bar. #481052
                                                United States Attorney

                                                BRIAN P. HUDAK
                                                Chief, Civil Division

                                      By:       /s/ Tabitha Bartholomew
                                                TABITHA BARTHOLOMEW
                                                DC Bar #1044448
                                                Assistant United States Attorney
                                                601 D Street, N.W.
                                                Washington, D.C. 20530
                                                Phone: (202) 252-2529
                                                Email: Tabitha.Bartholomew@usdoj.gov

                                                Counsel for the United States of America


                                                /s/ Jacob Meckler
                                                ANDREW BLOCK D.C. Bar #90002845
                                                Tel.: (202) 836-7958
                                                Email: Andrew.block@aflegal.org
                                                JACOB MECKLER D.C. Bar #90005210
                                                America First Legal Foundation
Case 1:23-cv-00581-RDM Document 18 Filed 03/20/24 Page 3 of 4




                           611 Pennsylvania Avenue SE #231
                           Washington, D.C. 20003
                           Tel.: (972) 861-2132
                           E-mail: Jacob.meckler@aflegal.org

                           Counsel for Plaintiff
                           America First Legal Foundation
         Case 1:23-cv-00581-RDM Document 18 Filed 03/20/24 Page 4 of 4




                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


 AMERICAN FIRST LEGAL
 FOUNDATION,

                Plaintiff,
                                                           Civil Action No. 23-581 (RDM)
         v.

 U.S. DEPARTMENT OF HEALTH AND
 HUMAN SERVICES,

                Defendants.



                                        [Proposed] ORDER

       Upon consideration of the parties’ Joint Status Report, it is hereby ORDERED that the

parties shall file by May 20, 2024, an additional joint status report advising the Court of the status

of this matter, including a recommendation for further proceedings.



       It is SO ORDERED this              day of                                , 2024.

                                                      _________________________________
                                                      U.S. DISTRICT COURT JUDGE
